                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF ALASKA



STATE FARM FIRE AND CASUALTY             )
COMPANY,                                 )
                                         )
                              Plaintiff, )
                                         )
       vs.                               )
                                         )
AAA MOVING & STORAGE, INC.,              )
individually and d/b/a ALLIED            )
INTERNATIONAL,                           )
                                         )                  No. 3:19-cv-0261-HRH
                              Defendant. )
_______________________________________)


                                            ORDER
                                      Case Dismissed

       Pursuant to the parties’ Stipulation of Dismissal,1 filed October 28, 2019, pending
motions, if any, are denied and this case is dismissed with prejudice, the parties to bear

their respective costs and attorney fees.
       DATED at Anchorage, Alaska, this 30th day of October, 2019.



                                                  /s/ H. Russel Holland
                                                  United States District Judge




       1
        Docket No. 11.

ORDER – Case Dismissed                                                                   -1-


           Case 3:19-cv-00261-HRH Document 12 Filed 10/30/19 Page 1 of 1
